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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 KRISTYN ROTH,

                                Plaintiff,

                 v.                                     Case No.


 HYDROCEPHALUS ASSOCIATION, INC.,

                                Defendant.



                             COMPLAINT AND JURY DEMAND

       Plaintiff Kristyn Roth (“Plaintiff”), through her attorneys, files this Complaint against

Hydrocephalus Association, Inc. (“Hydrocephalus Association” or “Defendant”) as follows,

upon personal knowledge and public records as to Plaintiff’s own acts and those acts of

Defendant that are a matter of public record, and otherwise upon information and belief.

                                     NATURE OF ACTION

       1.       This action arises from Defendant’s willful infringement of Plaintiff’s trademark

rights in and to the following mark (The “Makes Waves Mark”) in at least the field of online

charitable fundraising:
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        2.       Plaintiff has, since April 2016, conspicuously and continuously used the Make

Waves Mark in interstate commerce and in the State of New York to promote its and its licensees

the Roth Family Foundation and the Make Waves Charitable Gift Fund’s charitable works such as

the “Make Waves for Autism” fundraising campaign, to aid those with autistic spectrum disorder,

particularly autistic adults.

        3.       Defendant has, since September 2016, used the confusingly similar “Make Waves

for Hydrocephalus” mark also for charitable fundraising.

        4.       Despite Plaintiff’s seniority, Plaintiff was unable to register the Make Waves

Mark with the Trademark Office due to the Defendant’s having registered the junior “Make

Waves for Hydrocephalus” mark. Plaintiff accordingly commenced a Cancellation proceeding

against the “Make Waves for Hydrocephalus” Mark in August 2018. That proceeding is

currently pending.

        5.       Given Defendant’s continued use of its “Make Waves for Hydrocephalus” mark,

the potential for confusion between Plaintiff’s senior “Make Waves Mark” and Defendant’s

junior “Make Waves for Hydrocephalus” mark, Plaintiff is commencing this action for

infringement to seek injunctive relief for infringement of its mark in addition to Cancellation of

the “Make Waves for Hydrocephalus” mark.


                                  JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction of this action and claims pursuant to

Section 39 of the Lanham Act, 15 U.S.C. § 1121, and 28 U.S.C. §§ 1331 and 1338, and has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

        7.       Defendant is subject to personal jurisdiction of this Court because it, inter alia,

transacts business within this District, solicits donations within this District, including under the


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auspices of its confusingly similar mark, engages in a persistent course of conduct in this District

and its environs, and expects, or should expect, its acts to have legal consequences within New

York and this District.

        8.       Venue is proper in this District under 28 U.S.C. §§ 1391(b) and (c) because

Defendant is subject to this court’s personal jurisdiction under 28 U.S.C. §1391(c)(2) and thus

resides herein for the purposes of this action, and because a substantial portion of the conduct

that is the subject matter of this action occurred in this District, including Defendant’s

solicitation of donations in this District.

                                              PARTIES

        9.       Plaintiff Kristyn Roth is a private individual and owner of all rights to the Make

Waves Mark embodied in the application for a United States trademark bearing serial number

87/421618.

        10.      The Makes Waves Charitable Gift Fund and the Roth Family Foundation are

licensees of Plaintiff’s Make Waves Mark.


        11.      The Roth Family Foundation is a 501(c)(3) non-profit organization whose mission

is to support organizations and programs that improve the quality of life for special needs

communities. The foundation's primary focus is to provide opportunity to those on the Autism

Spectrum beyond the age of 22 years old, with the intent of fostering the highest level of

independence though transitional skill programs, housing alternatives, job training and

employment.


        12.      The Makes Waves Charitable Gift Fund was launched by Kristyn Roth in 2016 to

motivate and inspire others to become involved with the efforts of the Roth Family Foundation.



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       13.     Defendant Hydrocephalus Association, Inc. (“Hydrocephalus Association,” or

“Defendant”) is a corporation organized and existing under the laws of the State of Delaware.

Defendant’s registered agent on file with the Delaware Secretary of State for the purpose of service

of process is The Corporation Trust Company, Corporation Trust Center, 1209 Orange St,

Wilmington, DE 19081. Hydrocephalus Association has a principal place of business at 4340 East

West Highway, Suite 905, Bethesda, MD 20814.


THE MAKES WAVES MARK BELONGING TO PLAINTIFF AND CONFUSION WITH

                               DEFENDANT’S JUNIOR MARK

       14.     Plaintiff first made use of the Make Waves Mark in connection with the “Make

Waves for Autism” fundraising campaign in March of 2016 for fundraisers held in April of 2016,

and has made continuous and conspicuous use of it in interstate commerce ever since, including

in New York.


       15.     In March-April 2016, Plaintiff, through her licensee, conducted a fundraising

campaign in support of Autism Speaks and its “Light It Up Blue” movement. This campaign

resulted in more than 200 people attending seven charitable fundraiser events across the country,

acquisition of more than 25 corporate sponsors, six posts/stories in Internet social media, and an

ultimate raise of over $21,000. Specific fundraiser events locations included, inter alia, Boston,

MA, Weymouth, MA, New York City, NY, San Clemente, CA, and Dana point, CA.


       16.     Plaintiff has continuously and conspicuously used its mark in interstate commerce

in connection with charitable fundraising services, including on the website www.makewaves.blue

and on various social media platforms. Recently, Plaintiff’s licensees raised $48,000 at their first



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annual “Be a Wavemaker” fundraiser held on June 28, 2018 in Boston, MA. Subsequent such

annual events are planned.


        17.     As a result of Plaintiff’s extensive marketing and fundraising through its website

and events, consumers and donors uniquely associate the Make Waves Mark with Plaintiff’s and

Plaintiff’s licensees’ charitable fundraising services under the Makes Waves Mark.


        18.     In addition to the common law rights acquired in the Make Waves Mark since

March of 2016, Plaintiff is the owner of U.S. trademark application 87/421618 (the

“Application” or “Make Waves Application”) for registration of the following mark:




        19.     Plaintiff first submitted the Application for the Make Waves Mark (Serial No.

87/421618) on April 22, 2017, for “charitable services, namely, fundraising services by means of

organizing special events to financially support organizations focused on autism research,

programs and awareness and equal employment opportunities, replicable housing models and

social engagement programs for autistic individuals and to provide financial assistance to autistic

adults striving to transition to independent living and careers and to achieve a happy, quality

lifestyle; online charitable fundraising services” in International Class 036 (Insurance; financial

affairs; monetary affairs; real estate affairs.).




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        20.    On July 24, 2017, and again on March 1, 2018, Plaintiff’s Application was subject

to an Office Action refusing to register the Makes Waves Mark due to likelihood of confusion with

Defendant’s registered mark 5,173,193 for use in “charitable fundraising.”


        21.    Defendant claimed first use of the mark registered as No. 5,173,193 in commerce

on September 1, 2016. This is after the March 2016 date of use by Plaintiff of the Make Waves

Mark.


        22.    The Trademark Office noted that “In terms of wording, applicant’s [Defendant’s]

mark is highly similar both visually and particularly phonetically. Slight differences in the sound

of similar marks will not avoid a likelihood of confusion.” The Office concluded that “For the

aforementioned reasons, the marks are similar in sound, appearance and overall commercial

impression.”


        23.    The Office further noted that “Thus, the underlying services are similar by way of

encompassment as registrant’s [Defendant’s] broadly defined charitable fundraising services

include those same services of applicant [Plaintiff] that are for a specific medical condition or

online format.” The office concluded with respect to Section 2(d) of the Trademark Acts that

“Taking all of these factors into account, consumers encountering both marks in the marketplace

are likely to incur confusion as to source.”

        24.    In Response to the March 2018 final Office Action identifying a likelihood of

confusion between Defendant’s mark and Plaintiff’s senior Make Waves Mark, on August 31,

2018, Plaintiff requested a suspension of Plaintiff’s application (which was granted) and indicated

that Plaintiff would be filing a cancellation proceeding against Defendant’s “Make Waves for

Hydrocephalus” mark before the Trademark Trial and Appeal Board (TTAB). Plaintiff then filed



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Cancellation Petition No. 92069443 (the “Cancellation Petition”), presently pending before the

TTAB.

        25.    Defendant promotes the use of its “Make Waves for Hydrocephalus” mark in

connection with “DIY fundraising” on its website and promotes the use of the “Make Waves for

Hydrocephalus” mark by fundraisers who may set up their own events and remit the proceeds to

Defendant.     See     https://www.hydroassoc.org/get-involved/making-waves/event-guidelines/

(“Hydrocephalus Association invites you to create your Make Waves for Hydrocephalus – Do-It-

Yourself event.”). Upon information and belief, Defendant also promotes the use of the Twitter

hashtag       “#MakeWaves”          in      connection       with       its      fundraising          (see

https://www.hydroassoc.org/makewaves/).


        26.    Defendant’s use of its confusing “Make Waves for Hydrocephalus” mark has

caused, and will continue to cause, actual confusion in the marketplace, harm to the business

reputation and goodwill of Plaintiff, and damage to Plaintiff’s and Plaintiff’s licensees’ relations

with donors and prospective donors and other affiliates or prospective affiliates.

        27.    Defendant’s use of its confusing “Make Waves for Hydrocephalus” mark has

caused, and will continue to cause, Plaintiff damages in an amount to be determined at trial.


        28.    As of at least the date of Plaintiff’s filing of its Cancellation Petition, to which

Defendant filed an Answer on September 21, 2018, Defendant has been engaging in the above-

described unlawful activities knowingly and intentionally, or with reckless disregard for

Plaintiff’s rights in the Make Waves Mark, leading Plaintiff to seek this Court’s relief from

Defendant’s continued infringement.

                                             COUNT I



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      Unfair Competition and False Designation of Origin (15 U.S.C. § 1125(a)(1)(A))

        29.     Plaintiff realleges and incorporates each of the foregoing paragraphs of the

complaint as if fully set forth herein.

        30.     Plaintiff has continuously and conspicuously made of the Make Waves Mark in

United States interstate commerce in connection with charitable fundraising as of April of 2016,

and has acquired rights to the mark within the territories in which it has conducted fundraising

activities, including at least in New York, California, and Massachusetts.


        31.     Defendant presently makes use of the confusingly similar mark “Make Waves for

Hydrocephalus” in connection with charitable fundraising in interstate commerce, with such use

dating to no earlier a time than September, 2016, including within the territories within which

Plaintiff has conducted charitable fundraising activities under the auspices of Plaintiff’s Make

Waves Mark.


        32.     Defendant has been aware of the confusing similarity of its junior mark to

Plaintiff’s senior Make Waves Mark as of no later than September 21, 2018, when Defendant filed

its Answer to Plaintiff’s Cancellation Petition. Despite such awareness, Defendant has persisted in

its use of its confusingly similar junior mark in interstate commerce.


        33.     Given Plaintiff’s senior rights in the Make Waves Mark, Defendant’s use of mark

“Make Waves for Hydrocephalus,” the Twitter hashtag “#Makewaves,” and other designations

and indicia (including but not limited to those substantially similar to registered mark 5,173,193)

in commerce and in connection with charitable fundraising, is likely to cause confusion, mistake

or deception: (i) as to the affiliation, connection or association with Plaintiff, and (ii) as to the

origin, sponsorship or approval of its activities by Plaintiff.



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        34.    Defendant’s acts constitute a false designation of origin and unfair competition in

violation with Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

        35.    Defendant’s intentional and willful conduct has caused, and will continue to

cause, Plaintiff irreparable harm unless enjoined, and Plaintiff has no adequate remedy at law.

                                            COUNT II

                      Cancellation of Trademark (15 U.S.C. §§ 1119, 1052)

        36.    Plaintiff realleges and incorporates each of the foregoing paragraphs of the

complaint as if fully set forth herein.


        37.    Defendant is the registrant of United Stated trademark No. 5,173,193, “MAKE

WAVES FOR HYDROCEPHALUS,” for use in connection with “charitable fundraising,” (the

’193 Registration).


        38.    This action involves a registered mark—the ’193 Registration—and accordingly

this Court has jurisdiction to “determine the right to registration, order the cancelation of

registrations, in whole or in part, restore canceled registrations, and otherwise rectify the register

with respect to the registrations of any party to the action” under 15 U.S.C. §1119.


        39.    Plaintiff owns all right, title, and interest in and to the Make Waves Mark,

including all common law rights in such mark, which it and its licensees have used

conspicuously and continuously since April 2016 in interstate commerce nationwide and in the

states of at least New York, California, and Massachusetts.

        40.    Defendant’s ’193 Registration is confusingly similar to Plaintiff’s Make Waves

Mark.




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       41.     The mark contained in Defendant’s ’193 Registration was first used in commerce

no earlier than September, 2018, and is therefore junior to Plaintiff’s senior Make Waves Mark.


       42.     Plaintiff is therefore entitled to a Cancellation of the ’193 Registration under at least

15 U.S.C. § 1052(d).


                                            COUNT III

                  Trademark Infringement Under New York Common Law

       43.     Plaintiff realleges and incorporates each of the foregoing paragraphs of the

complaint as if fully set forth herein.

       44.     Plaintiff owns all right, title, and interest in and to the Make Waves Mark,

including all common law rights in such mark, based on the fact that Plaintiff was the first to use

such mark, which it has used conspicuously and continuously since April 2016 in interstate

commerce and in the city and State of New York.

       45.     The aforesaid acts of Defendant constitute trademark infringement in violation of

the common law of the State of New York.

       46.     Defendant’s intentional and willful conduct has caused, and will continue to

cause, Plaintiff irreparable harm unless enjoined, and Plaintiff has no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief as follows:

       1.      A judgment finding that:

                       (i)     Defendant has violated Section 43(a) of the Lanham Act, 15

                               U.S.C. §§ 1125(a);

                       (ii)    Defendant has engaged in trademark infringement under the

                               common law of the State of New York.


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       2.      Cancellation of Defendant’s registration and of and any appurtenant common-law

or other rights in trademark Registration No. 5,173,193 and the attendant mark or mark(s)

embodied therein.

       3.      A judgment that Plaintiff is the senior user of the Make Waves Mark and owner

of related trademark and/or trade dress rights therein.

       4.      An injunction permanently restraining and enjoining Defendant, its officers,

agents, employees and attorneys, and all those persons or entities in active concert or

participation with them, or any of them anywhere, from:

               (a)     Soliciting donations or promoting or hosting events bearing the Make

Waves Mark, or any other mark substantially or confusingly similar thereto, such as any mark

corresponding to the ’193 Registration and including, without limitation, the terms or marks

“Make Waves for Hydrocephalus” and the Twitter hashtag “#MakeWaves;”

               (b)     manufacturing, importing, advertising, marketing, promoting, supplying,

distributing, selling, offering or offering for sale any products or services which bear the Make

Waves Mark, or any other mark substantially or confusingly similar thereto, and engaging in any

other activity constituting an infringement of any of Plaintiff rights in the Make Waves Mark or

any other trademark owned by Plaintiff;

               (c)     engaging in any other activity, acts and practices that deceive the public

and/or donors, potential donors, and/or grant applicants as to affiliation between Plaintiff and

Defendant, including, without limitation, the use of the terms “Make Waves for Hydrocephalus”

and “#Makewaves,”, or any other designations or indicia that suggestion association between

Defendant and Plaintiff.




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                (d)     engaging in any activity that will diminish the unique and distinctive

quality of the Make Waves Mark or harm the reputation and goodwill in the Make Waves Mark;

                (e)     shipping, delivering, transferring, or otherwise disposing of, in any

manner, products or inventory which bear the Make Waves Mark or any mark confusingly

similar thereto.

                (f)     engaging in any other activity constituting unfair competition with

Plaintiff, or acts and practices that deceive the public and/or the trade.

         5.     A judgment directing that Defendant remove any simulation, reproduction,

colorable imitation of the Make Waves Mark, or any mark confusingly similar thereto, from any

and all storefronts, retail locations, and advertising in any medium and/or websites under its

control.

         6.     A judgment directing other such relief as the Court may deem appropriate to

prevent the public from receiving any erroneous impression that any charity, charitable event,

product or service at issue in this case, that has been manufactured, imported, advertised,

marketed, promoted, supplied, distributed, sold or offered for sale by Defendant, has been

authorized by Plaintiff, or related to or associated in any way with Plaintiff or Plaintiff’s

services, charitable activities or fundraising initiatives.

         7.     A judgment directing Defendant to file with the Court and serve upon Plaintiff,

within thirty (30) days after service upon Defendant of this Court’s final judgment issued in this

action, a statement, signed under oath, setting forth the manner and form in which Defendant

have complied with the injunction herein.

         8.     A judgment awarding Plaintiff its actual damages in the amount to be proven at

trial.




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       9.      A judgment awarding Plaintiff its costs and attorney fees and investigatory fees

and expenses to the full extent provided for by and relief under 15 U.S.C. §§ 1116-1118.

       10.     A judgment awarding Plaintiff such additional and further relief as the Court

deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial on all issues so triable that are raised by this First

Complaint.


Date: April 11, 2019


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